      Case 2:19-cr-00021-WBS Document 224 Filed 10/03/23 Page 1 of 2


1

2

3

4

5

6

7

8                         UNITED STATES DISTRICT COURT

9                        EASTERN DISTRICT OF CALIFORNIA

10                                ----oo0oo----

11

12   UNITED STATES OF AMERICA,               No. 2:19-CR-21-01 WBS
13                Plaintiff,

14        v.                                 ORDER RE: MOTION FOR BAIL
                                             PENDING APPEAL
15   BRIAN D. BELAND and DENAE A.
     BELAND,
16
                  Defendants.
17

18

19                                ----oo0oo----

20             The court finds by clear and convincing evidence, and

21   the government agrees, that defendant Brian D. Beland is not

22   likely to flee or to pose a danger to the safety of any other

23   person or the community if released on bail pending appeal.         See

24   18 U.S.C. § 3143(b); United States v. Handy, 761 F.2d 1279, 1283

25   (9th Cir. 1985).    The court also finds for the reasons discussed

26   at the hearing on defendant’s motion that his appeal raises a

27   “substantial question” of law or fact that is “fairly debatable,”

28   and that if his appeal from the denial of his motion to dismiss
                                         1
      Case 2:19-cr-00021-WBS Document 224 Filed 10/03/23 Page 2 of 2


1    is determined favorably to defendant on appeal that decision is

2    likely to result in reversal or an order for a new trial of all

3    counts on which imprisonment has been imposed,.         See Handy, 761

4    F.2d at 1283.   (See also Docket No. 220-1 (order in United States

5    v. Dimicili, No. 16-10157 (9th Cir. Aug. 26, 2016).)

6              IT IS THEREFORE ORDERED that defendant Brian D.

7    Beland’s motion for bail pending appeal (Docket No. 212) be, and

8    the same hereby is, GRANTED.      Defendant’s conditions of release

9    shall remain as previously set by the court.

10   Dated:   October 3, 2023

11

12

13

14

15

16

17

18

19

20
21

22

23

24

25

26
27

28
                                         2
